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              IN THE UNITED STATES DISTRICT COURT
       IN AND FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

WESTON MCLACHLAN and                      REPLY MEMORANDUM IN
PATTY MCLACHLAN, on behalf of            SUPPORT OF DEFENDANTS’
themselves and on behalf of the minor      MOTION TO EXCLUDE
child, W.M.,

         Plaintiffs,
                                             Case No. 2:16-cv-00405
v.

GRANITE SCHOOL DISTRICT;                     Judge Clark Waddoups
SHERRI BRANCH, an individual and         Magistrate Judge Paul M. Warner
Vice Principal at Eisenhower Jr. High,
BRENDA ZIMMERMAN, an
individual
and former intern Vice Principal at
Eisenhower Jr. High, MARK
ELLERMEIER, an individual and
Principal at Eisenhower Jr. High and
JOHN DOES 1-25.

        Defendants.
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        Granite School District and the individual School Defendants, by and

through counsel, Scott D. Cheney, Assistant Utah Attorney General, submit this

Reply Memorandum in response to Plaintiffs’ “Response” memorandum (Doc. 49)

and in further support of Defendants’ Motion to Exclude Any Evidence of Autism

or Any Other Physical or Mental Health Condition (Doc. 40).

                                    ARGUMENT

   I.      The Alleged Diagnoses of Autism and Adjustment Disorder are Not
           Relevant to Liability, Credibility, or Damages in this Lawsuit.
        A. The Diagnoses Are Not Material to Plaintiffs’ Due Process Claim.
        Plaintiffs argue that the asserted diagnoses of autism and adjustment

disorder are, despite the claims asserted in their complaint, relevant to liability,

credibility, and damages. (Doc. 49, p. 2). Evidence is only relevant, however, when

it has “any tendency” to make a fact of consequence “more or less probable.” Fed.

R. Evid. 401. Irrelevant evidence is inadmissible. Fed. R. Evid. 402. Although the

standard of relevance is “quite generous,” evidence “must, at minimum, advance

the inquiry of some consequential fact.” U.S. v. Oldbear, 568 F.3d 814, 820 (10th

Cir. 2009). Evidence advances a consequential fact when it is material and

probative. U.S. v. McVeigh, 153 F.3d 1166, 1190 (10th Cir. 1998). Evidence is

material when it provides a basis for an inference “about an issue that is necessary

for a verdict,” an element of Plaintiff’s claims. Evidence is probative when it


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makes a fact of consequence “more probable than it would be without the

evidence.” Id. (quoting Fed. R. Evid. 401, Adv. Comm. Notes (1972 Proposed

Rules)).

      For each of Plaintiffs’ claims, the consequential facts at issue pertain to

whether School Defendants had a rational basis for suspending W.M. Evidence is

therefore material only if helps a fact-finder draw an inference about decisions to

suspend and W.M.’s. suspension-related conduct.

      Plaintiffs have offered no argument for how W.M.’s alleged autism is

material to any of their claims. The post-litigation diagnoses allegedly occurred

two years after W.M. was temporarily suspended, and, obviously unbeknownst to

any of the school officials (or Plaintiffs) at the time, simply could not have been a

factor in School Defendants’ disciplinary decisions.

      B. There is No IDEA Claim Asserted in this Lawsuit.
      While Plaintiffs fail to relate W.M.’s diagnoses to a fact of consequence on

their Federal Constitution, Utah Constitution, and negligence claims, they argue

evidence of autism is relevant to a claim under the Individuals with Disabilities

Education Act (IDEA), a claim their Complaint does not assert, and which

Plaintiffs have not previously pursued. (Doc. 49, p. 4). Despite there being no

cause of action rooted in IDEA, no fact allegations of W.M.’s being “disabled” in



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any way, and despite silence in the Complaint as to any claim of relief – equitable

or monetary – due to an alleged IDEA violation, Plaintiffs now argue they have

properly pled an IDEA claim because they referred to the IDEA in their Notice of

Claim. See Compl. Ex. A. Plaintiffs did not, however, include an IDEA claim in

the body of their complaint, and have not even asserted the “labels, conclusions, or

a formulaic recitation” of the elements of an IDEA claim. Therefore, Plaintiffs’

complaint does not state a plausible IDEA claim. Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 555, (2007). See also, Carrasco v. New Mexico Dept. of Workforce

Services, No. 10-0999-MCA, 2013 WL 12092509 *11 (D. N.M. Mar. 19, 2013)

(unpublished) (“The Complaint does not state a claim concerning Plaintiff’s salary

grade, and therefore the [salary chart] in question does not make a fact of

consequence to this case more or less probable.”); BTG Intern. Ltd. V. Kappos, No.

1:12-cv-00682-AJT, 2012 WL 6082910, n. 12 (E.D. Va. Dec. 6, 2012)

(unpublished) (“‘facts of consequence’ . . . are determined with reference to the

claim set forth in the Complaint.”); Rosario v. Labor Ready Southeast, Inc., NO.

14-21496-Civ-Lenard, 2015 WL 12086100 *7 (S.D. Fla. Aug. 31, 2015)

(unpublished) (“[Because the] Complaint fails to sufficiently plead successor

liability, evidence concerning successor liability is irrelevant”). Accordingly,




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W.M.’s condition is not a “fact of consequence” to any claim actually asserted in

this lawsuit, and therefore reference to W.M.’s alleged condition is inadmissible.

      C. Mental Illness is Not Relevant to Credibility; Nor is W.M.’s
         Credibility in Issue.

      Plaintiffs also argue the late diagnoses are relevant to W.M.’s credibility

because some of the characteristics may make him “unbelievable” or “unrelatable”

to a jury. (Doc. 49, p. 3). Yet, evidence of mental illness is relevant to credibility

“only when it may reasonably cast doubt on the ability or willingness of a witness

to tell the truth.” U.S. v. Hargrove, 382 Fed. App’x. 765, 776 (10th Cir. June 16,

2010) (unpublished) (quoting U.S. v. Smith, 77 F.3d 511, 516 (D.C. Cir. 1996));

U.S. v. Butt, 955 F.2d 77, 82-83 (1st Cir. 1992) (explaining mental “instability” is

relevant to credibility only where the witness has “a severe illness, such as

schizophrenia, that dramatically impair[s] her ability to perceive and tell the

truth”). In Hargrove, the court found a witness’s anxiety disorder irrelevant to

credibility because it did not dramatically impair her ability to tell the truth.

Hargrove, 382 Fed. App’x at 776.

      W.M.’s diagnoses do not reasonably cast doubt on his ability or willingness

to tell the truth. According to Plaintiffs, W.M. was diagnosed with “adjustment

disorder with mixed anxiety,” and “autism spectrum disorder, without

accompanying intellectual impairment [or] language impairment.” (Doc. 49, p. 2).

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There is no evidence these diagnoses would dramatically affect W.M.’s ability to

tell the truth. Instead, they resemble the anxiety disorder in Hargrove, as they

involve no intellectual or language impairment that would affect credibility.

Furthermore, W.M.’s credibility is not at issue. He was not deposed, and none of

his testimony, other than that verified and observable on video exhibits, forms the

basis for Defendants’ arguments or Plaintiffs’ claims. See Doc. 44-1, Ex. 8, 9. The

alleged diagnoses are therefore irrelevant to W.M.’s credibility.

      D. W.M.’s Condition is Not Relevant to Damages

      Plaintiffs further argue W.M.’s adjustment disorder diagnosis is relevant to

damages, specifically “to establish some of the consequences he suffered from

defendants’ actions.” (Doc. 49, p. 4). Plaintiffs do not argue W.M.’s autism

diagnosis is a consequence of Defendants’ actions, and therefore that diagnosis is

not relevant to damages. Furthermore, the adjustment disorder diagnosis is not

relevant to liability because it came after W.M.’s suspension, and thus cannot make

it more likely W.M.’s prior suspension violated due process. Therefore, the alleged

diagnoses are inadmissible on the issue of liability.

      W.M.’s diagnoses are irrelevant because they do not make it more or less

likely W.M.’s suspension was improper. The diagnoses are not relevant to any

existing IDEA claim because no such claim was pled, and are not relevant to



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W.M.’s credibility because they do not impair his ability to tell the truth. Finally,

W.M.’s autism diagnosis is not relevant to damages because it is not a consequence

of his suspension, or a factor in School Defendants’ decision to suspend W.M.

   II.      The Prejudicial Effects of W.M.’s Diagnoses Substantially Outweigh
            Their Probative Value
         A court may exclude relevant evidence if its risk of unfairly prejudicing,

confusing, or misleading a jury substantially outweighs its probative value. Fed. R.

Evid. 403. This happens when evidence “suggest[s] to the jury that it should render

its findings ‘on an improper basis [such as] . . . an emotional one.’” U.S. v. Jordan,

485 F.3d 1214, 1218 (10th Cir. 2007). The low probative value of W.M.’s

diagnoses is substantially outweighed by the risk that reference to his condition

will mislead a finder of fact to consider as relevant improper, nonprobative

information. The 10th circuit and sister district courts have excluded low probative

value, medical condition evidence, in similar cases. See, e.g., U.S. v. Hargrove,

382 Fed. App’x. 765, 776 (10th Cir. 2010) (unpublished) (finding evidence of

mental illness only probative when it “reasonably cast[s] doubt” on a witness’s

truth-telling ability); Carrasco v. New Mexico Dept. of Workforce Services, No.

10-0999-MCA, 2013 WL 12092509 *11 (D. N. M. Mar. 19, 2013) (explaining

evidence is not probative if it does not relate to a claim stated in Plaintiff’s

complaint).


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      Plaintiffs argue a jury may permissibly conclude Defendants violated

W.M.’s due process rights by insufficiently responding to Patty McLachlan’s

alleged conversation noting that W.M., in elementary school, had other incidents

involving “behavioral difficulties.” (Doc. 49, pg. 6; Doc. 48, pg. 4). According to

Plaintiffs, Defendants therefore had notice W.M. “had at least some special needs.”

(Doc. 49, pg. 6). This is an improper basis, however, because whether the school

Defendants had notice of W.M.’s then undiagnosed disorder has nothing to do with

whether W.M.’s suspensions from Junior High violated due process. The proper

standard for challenging a suspension is whether the decision was “arbitrary,

lacking a rational basis, or shocking to the conscience,” and the fact-finder’s job is

to evaluate Defendants’ actions under this standard. Butler v. Rio Rancho Pub.

Sch. Bd. of Educ., 341 F.3d 1197, 1200-01 (10th Cir. 2003). Whether Defendants

had notice of W.M.’s previously undiagnosed disorders is not a factor in whether

the suspensions were arbitrary, because the issue is whether Defendants provided

W.M. and his parents notice and an opportunity to be heard. Because testimony of

W.M.’s yet unsubstantiated and after-the-fact diagnoses improperly prejudices the

fact finder and, at minimum, would confuse the issues. The likelihood of

prejudicial effect substantially outweighs any minimal probative value of such

testimony.


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      W.M.’s diagnoses are substantially more prejudicial than probative because

numerous cases demonstrate their low probative value, and they are not material or

relevant to the standard for evaluating Plaintiffs’ due process claims, and therefore,

any such evidence should be excluded from this litigation.

      Defendants ask the Court to grant their Motion to Exclude Any Evidence of

Autism or Any Other Physical or Mental Health Condition. W.M.’s mental health

diagnoses should be excluded as irrelevant and unfairly prejudicial because their

low probative value is substantially outweighed by the risk they will distract from

proper evaluation of Plaintiffs’ due process claims.

      DATED January 5, 2018

                          OFFICE OF THE UTAH ATTORNEY GENERAL

                          /s Scott. D. Cheney
                          SCOTT D. CHENEY
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